    Case 22-12454-MBK                 Doc 34       Filed 09/02/22 Entered 09/02/22 10:49:58             Desc Main
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)


     Denise Carlon, Esquire
     KML Law Group, P.C.                                                        Order Filed on September 2, 2022
     701 Market Street, Suite 5000                                              by Clerk
     Main Phone: 609-250-0700                                                   U.S. Bankruptcy Court
     dcarlon@kmllawgroup.com                                                    District of New Jersey

     Attorneys for Secured Creditor
     U.S. Bank National Association, as trustee, in trust for
     registered holders of First Franklin Mortgage Loan Trust,
     Mortgage Loan Asset-Backed Certificates, Series 2006-         Case No.: 22-12454 MBK
     FF18
                                                                   Adv. No.:
     In Re:
                                                                   Hearing Date: 8/10/2022@ 9:00 a.m.
               Antonio Velez,
                                                                   Judge: Jerrold N. Poslusny, Jr.
     Debtor.

           ORDER CURING POST-PETITION ARREARS & RESOLVING MOTION FOR
                               RELIEF FROM STAY

          The relief set forth on the following pages, numbered two (2) through three (3) is hereby
     ORDERED.




DATED: September 2, 2022
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Debtors: Antonio Velez
Case No: 22-12454 MBK
Caption of Order: ORDER CURING POST-PETITION ARREARS AND RESOLVING MOTION FOR
RELIEF FROM STAY
_________________________________________________________________________________
       This matter having been brought before the Court by KML Law Group, P.C., attorneys for Secured
Creditor, U.S. Bank National Association, as trustee, in trust for registered holders of First Franklin
Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2006-FF18, Denise Carlon
appearing, upon a motion to vacate the automatic stay as to real property located at 22 Cannonball Drive,
Barnegat, NJ, 08005, and it appearing that notice of said motion was properly served upon all parties
concerned, and this Court having considered the representations of attorneys for Secured Creditor and Daniel
E. Straffi, Esquire, attorney for Debtors, and for good cause having been shown
        It is ORDERED, ADJUDGED and DECREED that as of August 10, 2022, Debtor is due for the
April 2022 through August 2022 post-petition payments for a total post-petition default of $9,763.80 (5 @
$1,952.76; and
        It is ORDERED, ADJUDGED and DECREED that Debtor shall make an immediate payment of
$1,000.00; and
        It is further ORDERED, ADJUDGED and DECREED that the balance of the arrears in the
amount of $8,763.80 shall be added to the affidavit of amount due and paid through Debtors’ Chapter 13
plan; and
        It is further ORDERED, ADJUDGED and DECREED that the debtor is to file a modified plan
within twenty days of the entry of this order; and
        It is further ORDERED, ADJUDGED and DECREED that regular mortgage payments are to
resume September 1, 2022, directly to Secured Creditor’s servicer, Select Portfolio Servicing, Inc. P.O. Box
65250, Salt Lake City, UT 84165 (Note: the amount of the monthly mortgage payment is subject to change
according to the terms of the note and mortgage); and
        It is further ORDERED, ADJUDGED and DECREED that for the Duration of Debtor’s Chapter
13 bankruptcy proceeding, if any of the cure payments or regular monthly mortgage payments are not made
within thirty (30) days of the date said payment is due, Secured Creditor may obtain an Order Vacating
Automatic Stay as to Real Property by submitting a Certification of Default to the Court indicating such
payment is more than thirty days late, and Debtor shall have fourteen days to respond; and
        It is further ORDERED, ADJUDGED and DECREED that a copy of any such application,
supporting certification, and proposed Order must be served on the Trustee, Debtor, and Debtor’s counsel at
the time of submission to the Court; and
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Debtors: Antonio Velez
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_________________________________________________________________________________

         It is further ORDERED, ADJUDGED and DECREED that Secured Creditor is hereby awarded
reimbursement of fees and costs in the sum of $350.00 for attorneys’ fees and $188.00 for filing fees, totaling
$538.00, which is to be paid through Debtor’s Chapter 13 plan; and
        It is further ORDERED, ADJUDGED and DECREED that the Secured Creditor’s Motion for
Relief is hereby resolved.
